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                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

JEFFREY PRZYBYLO,                             )
              Plaintiff,                      )       1:10‐cv‐4575
                                              )       Judge Chang
         v.                                   )       Magistrate Judge Denlow
                                              )
PROFESSIONAL RECOVERY SERVICES, INC.,         )
             Defendant.                       )       JURY TRIAL DEMANDED

                           Fed.R.Civ.P. 41(a)(1) Dismissal With Prejudice

         Pursuant to settlement, plaintiff hereby dismisses this action with prejudice and without

costs.

                                              Respectfully submitted,

                                              /s/Alexander H. Burke

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